Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.96 Filed 03/21/23 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

Paul Harris, #330310
                                                         Case No.: 2:20-cv-10065
       Plaintiff,                               District Judge: Terrance G. Berg
                                              Magistrate Judge: Patricia T. Morris
v.

Grenier

       Defendants,

PAUL HARRIS, #330310                                      CHAPMAN LAW GROUP
In Pro Per                                           Nicholas B. Pillow (P83927)
St. Louis Correctional Facility                 Attorney for Mary Greiner, D.O.
8201 Croswell Road                           1441 West Long Lake Rd., Suite 310
St. Louis, MI 48880                                              Troy, MI 48098
                                                                  (248) 644-6326
                                                npillow@chapmanlawgroup.com

        DEFENSE COUNSEL CHAPMAN LAW GROUP’S AND ITS
       ATTORNEY’S MOTION TO WITHDRAW AS COUNSEL FOR
     DEFENDANT MARY GREINER, D.O. (HEREINAFTER “INSURED”)
        AND FOR 120-DAY STAY ON BEHALF OF ALL CORIZON
           DEFENDANTS, EMPLOYEES, AND/OR AGENTS

       NOW COMES the undersigned Defense Counsel and the law firm of

CHAPMAN LAW GROUP., and for their Motion to Withdraw as attorneys in this

matter, state as follows:

       1.     This is a lawsuit brought pursuant to pursuant to 42 U.S.C. §1983,

alleging violations of Plaintiff’s Eighth and Fourteenth Amendment Rights.
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.97 Filed 03/21/23 Page 2 of 8




      2.        The undersigned entered their appearances in this matter on behalf of

Defendants Corizon Health, Inc. and its insured(s) and have continued to represent

the parties through the date of this motion to withdraw.

      3.        Defendant Tehum Care Services, Inc., d/b/a Corizon Health, Inc.

provides the defense and indemnity of all Michigan insureds.

      4.        No conflict existed during the representation until the Tehum Care

Services, Inc., d/b/a Corizon Health, Inc. filed Chapter 11 bankruptcy on February

16, 2023.

      5.        By virtue of the bankruptcy the interest of Corizon and its insured(s)

are in conflict. Counsel cannot represent one without adversely impacting the duty

to the other.

      6.        The uncertainty of the professional liability coverage itself and the

adverse position of Corizon and its insured(s) creates a conflict of interest. See

Michigan Rules of Professional Conduct R. 1.7.

      7.        The newly created issues and disputes between the insured(s) and

Corizon creates a conflict where counsel will be forced to takes sides and potentially

advocate one client’s position against another client’s position This situation creates

a conflict of interest for the undersigned counsel. See Michigan State Bar Informal

Ethics Opinion, RI -89:

      Holding: “When an insurer retains a lawyer to defend an insured, the
      insured is the lawyer's client, and the lawyer must advocate the insured's

                                            2
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.98 Filed 03/21/23 Page 3 of 8




      position even if it is adverse to the insurer. If a lawyer represents the
      insured and the insurer in a matter, and one client later wishes the
      lawyer to assert a factually sustainable theory that serves that client's
      interest but is adverse to the other, the lawyer must withdraw from
      representation of both clients.” References: MRPC 1.2(a), 1.2(c), 1.4,
      1.7(a), 1.7(b), 1.8(f), 3.3(a)(1), 3.9, 8.4(c); CI-876, CI-1146; ABA i783,
      i822, i1476.”

      8.     Further demonstrating a conflict of interest, see also Michigan State Bar

Informal Ethics Opinion, RI -108:

      Holding: “Where the clients' positions are diametrically opposed and
      the lawyer, in advocating the best interests of one client, must
      necessarily advance an argument which would be hostile to the interests
      of the other client, the lawyer must withdraw from both
      representations.” References: MRPC 1.7, 8.4(c).

      9.     Counsel filed Notices of a Suggestion of Bankruptcy and Notice of

Automatic Stay in Michigan state courts and in the United States District Courts for

both the Eastern District of Michigan Federal Court and Western District of

Michigan Federal Court on cases involving Corizon.

      10.    As soon as reasonable, after becoming aware of Corizon’s bankruptcy,

counsel communicated to all Defendants its belief that a conflict of interest may exist

and advised all clients that they should consult outside independent counsel.

      11.    Under the Michigan Rules of Professional Conduct Rule 1.16(a)(1), a

lawyer, “where representation has commenced, shall withdraw from the

representation of a client if (1) the representation will result in violation of the Rules

of Professional Conduct or other law.”


                                            3
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.99 Filed 03/21/23 Page 4 of 8




      12.    “A lawyer shall not represent a client if the representation of that client

will be directly adverse to another client.” Michigan Rules of Professional Conduct

Rule 1.7(a). The Rules further provide that a conflict of interest may not be resolved

by a client’s consent where the representation would continue to be adverse

irrespective of the client’s consent. “Where the parties’ positions would continue to

be “materially adverse” and “effective advocacy on behalf of one client would

contravene the position of the other,” the attorney shall withdraw. Michigan State

Bar Informal Ethics Opinions, RI-89. See also ethics opinion RI -108, as cited

above.

      13.    Under the Michigan Rules of Professional Conduct Rule 1.16(d), the

withdrawing attorney “shall take reasonable steps to protect a client’s interest,”

which includes “giving reasonable notice to the client,” and allowing time for

employment of other counsel.”

      14.    As discussed above, in most cases counsel filed a filed Motion to Stay

for a minimum of ninety (90) days on behalf of individual insureds. Courts have not

been consistent in addressing the motion, some have been granted, denied and some

motions remains pending.

      15.    Counsel also requests, at minimum, a one hundred twenty (120) day

stay for all insureds. The stay is necessary in lieu of counsel’s motion to withdraw.

See Buck & Lechner Serv. v. Star Cutter Co., 2010 U.S. Dist. LEXIS 162472, at *19


                                           4
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.100 Filed 03/21/23 Page 5 of 8




(E.D. Mich. May 4, 2010) (staying case for several months to allow parties to secure

counsel following their attorney’s withdrawal).

      16.    District Court have power to stay proceeding as part of its inherent

power to “control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Esperson v. Trugreen Ltd. P’ship,

2010 U.S. Dist. LEXIS 64637 *4 (W.D. TN June 29, 2010).

      17.    When ruling on a motion to stay, the Court considers three factors “(1)

potential prejudice to the non- moving party; (2) hardship and inequity to the moving

party if the action is not stayed; and (3) the judicial resources that would be saved

by avoiding duplicative litigation if the cases are in fact consolidated.” Sierra Club

v. Korleski, 2010 U.S. Dist. LEXIS 63363 *6 (S.D. OH June 8, 2010) (citing Martin

v. Heideman, 106 F.3d 1308, 1311 (6th Cir. 1997)).

      18.    Fed. R. Civ. P. 16(c)(2)(L) allows for the Court to “adopt special

procedures for managing potentially difficult or protracted actions that may involve

complex issues, multiple parties, difficult legal questions, or unusual problems.”

      19.    Here, the complex issues and difficult questions presented by Corizon’s

bankruptcy and its impact on these proceedings, including indemnity coverage

issues, multiple claims and parties involved in this case, along with the undersigned

counsel’s withdrawal would reasonably warrant a stay of the proceedings for at least




                                           5
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.101 Filed 03/21/23 Page 6 of 8




one hundred twenty (120) days to allow all insureds to retain counsel and for the

parties to sort out and determine the issues presented by the bankruptcy.

      20.    Due to the immediate nature of the conflict and the outside influences,

counsel is ethically prohibited from taking any additional action or providing legal

advice to Corizon and/or the insureds.

      21.    Counsel will serve a copy of this motion on all insureds, as well as all

remaining parties. Counsel does not believe there is any viable objection available

to any party or the insureds. The Michigan Rules of Professional Conduct are clear

and unequivocal on the issues presented.

      22.    Failure to grant said motion would effectively be an order directly

counsel to violate the Michigan Rules of Professional Conduct.

      WHEREFORE, for the reasons set forth above, the undersigned defense

counsel and Chapman Law Group respectfully request that this Honorable Court

grant their Motion to Withdraw and to enter an order staying proceedings in this

matter for a minimum of one hundred twenty (120) days.

                                         Respectfully submitted,
                                         CHAPMAN LAW GROUP

Dated: March 21, 2023                    /s/Nicholas Pillow
                                         Nicholas B. Pillow (P83927)
                                         Attorney for Mary Greiner, D.O.
                                         1441 W. Long Lake Rd., Suite 310
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                                           6
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.102 Filed 03/21/23 Page 7 of 8




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

Paul Harris, #330310
                                                        Case No.: 2:20-cv-10065
      Plaintiff,                               District Judge: Terrance G. Berg
                                             Magistrate Judge: Patricia T. Morris
v.

Grenier

      Defendants,

PAUL HARRIS, #330310                                     CHAPMAN LAW GROUP
In Pro Per                                          Nicholas B. Pillow (P83927)
St. Louis Correctional Facility                Attorney for Mary Greiner, D.O.
8201 Croswell Road                          1441 West Long Lake Rd., Suite 310
St. Louis, MI 48880                                             Troy, MI 48098
                                                                 (248) 644-6326
                                               npillow@chapmanlawgroup.com

    BRIEF IN SUPPORT OF DEFENSE COUNSEL CHAPMAN LAW
   GROUP’S AND ITS ATTORNEY’S MOTION TO WITHDRAW AS
COUNSEL FOR DEFENDANT MARY GREINER, D.O. (HEREINAFTER
“INSURED”) AND FOR 120-DAY STAY ON BEHALF OF ALL CORIZON
          DEFENDANTS, EMPLOYEES, AND/OR AGENTS

      The CHAPMAN LAW GROUP, undersigned Counsel, and Corizon

Defendants rely on and incorporate the facts and law outlined in the preceding

Motion as if fully set forth herein.

      WHEREFORE, for the reasons set forth above, the undersigned defense

counsel and Chapman Law Group respectfully request that this Honorable Court

grant their Motion to Withdraw and to enter an order staying proceedings in this

matter for a minimum of one hundred twenty (120) days.
                                       7
Case 2:20-cv-10065-TGB-PTM ECF No. 25, PageID.103 Filed 03/21/23 Page 8 of 8




                                      Respectfully submitted,
                                      CHAPMAN LAW GROUP


Dated: March 21, 2023                 /s/Nicholas Pillow
                                      Nicholas B. Pillow (P83927)
                                      Attorney for Mary Greiner, D.O.
                                      1441 W. Long Lake Rd., Suite 310
                                      Troy, MI 48098
                                      (248) 644-6326
                                      npillow@chapmanlawgroup.com

                            PROOF OF SERVICE

           I hereby certify that on March 21, 2023, pursuant to Fed.
           R. Civ. P. 5(b)(2)(E), I presented Chapman Law Group’s
           Motion to Withdraw as Counsel to the Clerk of the Court
           for filing and uploading to the ECF system which will send
           notification of such filing to the attorneys of record listed
           herein. Further, I hereby certify that, pursuant to Fed. R.
           Civ. P. 5(b)(2)(C), I have mailed or caused to be mailed
           by US Postal Service a copy of the Motion to the last
           known address for the following individuals: Plaintiff Paul
           Harris and Defendant Mary Greiner, D.O. Further, I
           hereby certify that, pursuant to Fed. R. Civ. P. 5(b)(2)(E)
           Defendant Corizon health Inc. was served with a copy of
           the Motion via Email, as previously consented to by
           Corizon Health Inc.

                                      /s/Nicholas Pillow
                                      Nicholas B. Pillow (P83927)




                                        8
